    475 Crosspoint Pkwy.
    Getzville NY 14068



    February 24 2023


    To whom it may concern:

    Please withdraw the Notice of Mortgage Payment Change filed on 1/18/2022 under
    case number 20-00841, claim number 21. The document was found to be
    inaccurately filed.

    Please contact me at the via the information below if you have any other questions
    or concerns. Thank you for your assistance.


    Sarah Sepulveda Rios
    M&T Bank
    Customer Asset Management | Business Banking & Consumer Support Specialist II
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